               Case: 1:18-cv-01367 Document #: 25 Filed: 10/08/18 Page 1 of 2 PageID #:79




                                      UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION


        ABDELRAHMAN F. BADER,                           )
                                                        )
                         Plaintiff,                     )
                                                        )
                                                                  Case No. 1:18-cv-01367
                   vs.                                  )
                                                        )
                                                                  Hon. Sharon Johnson Coleman
        NAVIENT SOLUTIONS, LLC,                         )
                                                        )
                         Defendant.                     )
                                                        )

                                DEFENDANT NAVIENT SOLUTIONS, LLC’S
                               MOTION FOR JUDGMENT ON THE PLEADINGS

                   Pursuant to Fed. R. Civ. P. 12(c), Defendant Navient Solutions, LLC (“Defendant” or

        “NSL”), by and through its attorneys, Foley & Lardner LLP, respectfully moves this Court for

        judgment on the pleadings as to Plaintiff Abdelrahman F. Bader’s (“Plaintiff” or “Bader”)

        Complaint. For the reasons set forth in the accompanying Brief, Bader has failed to allege

        sufficient facts to support any of the claims in his Complaint and, therefore, Bader’s Complaint

        must be dismissed, with prejudice.



        Dated: October 8, 2018
                                                               Respectfully submitted,

                                                               ATTORNEYS FOR DEFENDANT



                                                               By: /s/ Ryan J. Lowry
                                                                      One of Their Attorneys




4850-2833-0871.1
               Case: 1:18-cv-01367 Document #: 25 Filed: 10/08/18 Page 2 of 2 PageID #:79




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